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                              IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF SOUTH CAROLINA
                                       FLORENCE DIVISION

Mark H. Vance,                                  )   Case No: 4:17-cv-02226-RBH
                                                )
                Plaintiff,                      )
                                                )
        vs.                                     )              STIPULATION OF DISMISSAL
                                                )                   WITH PREJUDICE
Fred T. Combs, individually and as              )
agent of Unifirst Corporation, and              )
Unifirst Corporation,                           )
                                                )
                Defendants.



        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the undersigned

attorneys hereby stipulate and agree on behalf of their respective clients that the above-captioned case is

dismissed with prejudice.


                                   (SIGNATURE PAGE TO FOLLOW)
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WE SO CONSENT:


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